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                                        January 16, 2020


Honorable George J. Hazel
United States District Judge
U.S. District Court for the District of Maryland
6500 Cherrywood Lane
Greenbelt, Maryland 20770

       Re:     United States v. Christopher Hasson, Criminal Case No. 19-cr-0096-GJH

Dear Judge Hazel:

        Our client Christopher Hasson is scheduled for sentencing before Your Honor on January
31, 2020. We write to set forth the defense’s position with respect to sentencing. Mr. Hasson has
pled guilty to nonviolent offenses related to the unlawful possession of firearms and tramadol, a
prescription drug. We respectfully submit that the appropriate sentence is time served and three
years of supervised release. The requested sentence is proportionate to those offenses and
consistent with all of the sentencing objectives set forth in 18 U.S.C. § 3553(a).

       I.      Introduction

        Mr. Hasson, age 50, is a decorated member of the U.S. Coast Guard who has dedicated his
life to serving his country. Throughout his career, Mr. Hasson has been recognized as an
outstanding service member, receiving countless awards for his leadership and only the highest
performance evaluations. Mr. Hasson is also a devoted father and husband, as well as a valued
teacher and mentor to many younger servicemen. He comes from a loving and supportive family.
He has no prior criminal history.

      Like many Americans, Mr. Hasson went through a difficult time in mid-life, when he
became addicted to prescription opioids. His criminal conduct arose out of this addiction.
Accompanying this sentencing memorandum is a report from Dr. Kelly Dunn, a behavioral
pharmacologist at Johns Hopkins University, diagnosing Mr. Hasson with severe Opioid Use
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Disorder. Dr. Dunn explains the behavioral implications as well as treatment recommendations
for this disease. 1 Mr. Hasson’s prognosis for full recovery is excellent.

        Mr. Hasson is deeply ashamed of his conduct. He regrets that he was too ashamed to seek
help with his addiction. He is sincerely remorseful for the damage he has done to his personal and
Coast Guard families. He is also remorseful for the alarm he caused his fellow citizens. Despite
his mistakes, dozens of Mr. Hasson’s friends, family members, and fellow Coast Guarsdmen have
written letters of support to the Court. 2 Those letters, from people who have known Mr. Hasson
throughout his life, powerfully illustrate that Mr. Hasson is a good man whose offense conduct
does not reflect his true character.

        The punishment that Mr. Hasson has already endured, together with the future collateral
consequences of his convictions, are substantial and sufficient punishment for his crimes. Mr.
Hasson has already spent nearly a year in jail. He and his family have suffered greatly under the
intense media scrutiny that this case has raised. His career, reputation, and life as he knew it are
destroyed. And after all of this, the criminal case against Mr. Hasson has turned out to be little
more than a run-of-the mill firearms-possession case. At the outset, the government proclaimed
that the gun and drug charges were just “the proverbial tip of the iceberg.” 3 This proved to be
incorrect. We now ask the Court to strip away all of the speculation and rhetoric and sentence Mr.
Hasson proportionately to the offenses he actually committed. The government’s unproven claims
about his private thoughts and beliefs and its conjecture about his plans and motives have no place
in the sentencing courtroom and should have no bearing on the outcome.

       We are including with this sentencing memorandum a detailed risk-of-violence assessment
prepared by Dr. Stephen Hart, an internationally renowned expert in this field. 4 Dr. Hart conducted
an evidence-based assessment of the risk factors highlighted by the government in support of its
theory that Mr. Hasson intended to commit a violent attack. Dr. Hart strongly rejects the
government’s hypothesis, concluding that the evidence “does not support the government’s theory
that Mr. Hasson intends (or intended) to commit acts dangerous to human life or that he is (or was)
a domestic terrorist.” Dr. Hart further concludes that “Mr. Hasson does not pose a risk of serious


1
    See Exhibit 5.
2
    See Exhibit 8.
3
    Dkt. No. 9, at 1.
4
    See Exhibit 6.
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violence, including but not limited to murder and terrorism, either currently or in the foreseeable
future.”

        We hope that Dr. Hart’s analysis puts to rest, for once and for all, the unsubstantiated
allegations that the government has leveled at Mr. Hasson. We hope that it helps to provide peace
of mind to the Court in sentencing Mr. Hasson, and to all others who have participated in or
observed this case. And most of all, we hope that it helps Mr. Hasson to reclaim some part of his
prior life, before a single government filing brought him national notoriety as the “domestic
terrorist Coast Guard officer.” If the Court takes away just one theme from reading our submission,
we hope that it is this: Mr. Hasson is a good man with a long and honorable history of dedicated
service to the safety and well-being of our nation and his fellow citizens. He is an asset, not a
danger, to our society.

          II.     Procedural History

        On February 14, 2019, Mr. Hasson was charged by criminal complaint with one count of
possession of firearms by an unlawful user or addict of a controlled substance (18 U.S.C.
§ 922(g)(3)) and one misdemeanor count of possession of tramadol, a schedule IV controlled
substance (21 U.S.C. § 844). In a written motion seeking Mr. Hasson’s pretrial detention, the
government alleged that the initial charges were just “the proverbial tip of the iceberg.” 5 The
government made the sweeping allegation that Mr. Hasson “intends to murder innocent civilians
on a scale rarely seen in this country” and labeled him “a domestic terrorist.” 6 At a detention
hearing before the Honorable Charles B. Day, the government again claimed that the firearms and
controlled substance charges were “just the tip of the iceberg.” 7

       However, the only additional charges that the government ever managed to bring against
Mr. Hasson were two additional firearms-possession counts. On February 27, 2019, an indictment
was returned charging Mr. Hasson with two regulatory violations of the National Firearms Act
(NFA), in addition to the same two charges contained in the original complaint. 8 The NFA counts




5
    Dkt. No. 9, at 1.
6
    Id.
7
    Transcript of Detention Hearing (Feb. 21, 2019), at 4.
8
    See Dkt. No. 16.
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alleged that Mr. Hasson possessed silencers that were not registered under the NFA (26 U.S.C.
§ 5861(d)) and that did not have serial numbers as required by the NFA (26 U.S.C. § 5861(i)). 9

         The government never charged Mr. Hasson with any of the other offenses that were listed
in its numerous federal search warrant applications. The initial search warrant affidavits indicated
that the government was investigating Mr. Hasson for suspected violations of 18 U.S.C. §§ 1111
(murder in federal jurisdiction), 1114 (murder or attempted murder of officers or employees of the
United States), 351 (assassination of Cabinet secretaries, members of Congress, or Supreme Court
justices), and 371 (conspiracy to commit the foregoing crimes). 10 However, no evidence was
uncovered to support charging Mr. Hasson with violating, attempting to violate, or conspiring to
violate any of those statutes or any other statute pertaining to domestic terrorism or violent crimes.

       Mr. Hasson filed motions to dismiss the charges in the indictment on constitutional
grounds. Those motions were argued at a hearing before this Court on September 9, 2019. Witness
testimony was presented by both sides on the Second Amendment questions raised by Mr. Hasson.
On September 20, 2019, the Court issued a Memorandum Opinion and Order denying the motions
to dismiss. 11 Shortly thereafter, the parties entered into a conditional plea agreement that preserves
Mr. Hasson’s right to appeal the denial of those motions. 12 On October 3, 2019, Mr. Hasson
appeared before Your Honor and pled guilty to all four counts of the indictment. The Court
scheduled Mr. Hasson’s sentencing for January 31, 2020.

       The Court is required in this case, as in all others, to impose a sentence that is “sufficient,
but not greater than necessary,” to accomplish the statutory purposes of sentencing, which are
punishment, specific deterrence, general deterrence, and rehabilitation. 18 U.S.C. § 3553(a). In
determining the appropriate sentence, the Court is directed to consider a variety of factors,
including the nature and circumstances of the offense, the history and characteristics of the
offender, the purposes of sentencing, the types of sentences available, and the recommendation of
the U.S. Sentencing Guidelines, among others. See id. Each of the relevant sentencing factors is
discussed in the following sections.




9
    See id.
10
     See Dkt. No. 66, at 1-2 & Ex. A.
11
     Dkt. Nos. 87 & 88.
12
     See Dkt. No. 94.
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          III.     Mr. Hasson’s Background and History

       One factor the Court must consider under § 3553(a) is the history and characteristics of the
defendant, Christopher Hasson. An overview of Mr. Hasson’s relevant life history is set forth
below and is supplemented by the numerous character letters accompanying this memo. 13

          Early Life

        Christopher Paul Hasson, who goes by “Chris,” was born on April 24, 1969, to Craig and
Maureen Hasson. When Chris was born, his parents lived in a duplex in New Jersey with his
paternal grandparents. His parents were young—Maureen was only 19 when Chris was born—
and Craig worked full-time and attended night school. Chris’s paternal grandfather was a veteran
of World War II. His paternal uncle, a U.S. Marine, was killed in Vietnam the same year Chris
was born. Chris spent a lot of time with his paternal grandparents when he was a young child, and
his grandparents poured much time and attention into Chris as they grieved the loss of their son.

        Spending time with his grandfather cultivated Chris’s interest in the military from a young
age. Chris’s mother, Maureen, remembers that he dressed as a Marine for Halloween for the first
time when he was four and then every year thereafter until he stopped trick-or-treating. Chris was
so interested in joining the military that he enrolled in Frederick Military Academy in Virginia
when he was in the eighth grade. Eventually, however, Chris stopped attending after someone
from the school called his parents and suggested that it was not the right place for him: the Hassons
had not realized that the school was intended to provide structure and discipline for troubled youth,
which was not the case with Chris.

          Career

       Chris entered the U.S. Marine Corps on December 15, 1988, on his second attempt to enlist.
Chris was rejected by the Marines the first time he applied because of his severe acne; he had to
reapply after completing a course of Accutane treatment. Chris was stationed in South Carolina
working as an aircraft mechanic until the start of the Gulf War. The Marines then deployed Chris
to Kuwait, where he participated in both Operation Desert Shield and Operation Desert Storm.14

13
   The information in this section was collected through many interviews with friends, family, and
coworkers of Mr. Hasson, interviews of Mr. Hasson, and a review of his military, educational, and
medical records. Excerpts of those records are attached as Exhibits 1-4. Character letters are
attached as Exhibit 8.
14
     See Exhibit 1 (Marine Corps Records), at 1-2.
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Chris’s service abroad was difficult and took a toll on him and his fellow service members. In one
particularly haunting memory, Chris remembers hearing a gunshot in a nearby tent. When he ran
over to check what had happened, he saw a fellow solider bleeding out from a self-inflicted gunshot
wound to the head. Chris continued to serve his country overseas as a Marine through participation
in two NATO missions in Bosnia and Herzegovina, known as Operation Provide Promise and
Operation Deny Flight. He earned a number of commendations and medals while in the Marines,
including the National Defense Service Medal, the Southeast Asia Service Medal, the Kuwait
Liberation Medal, and a Good Conduct Medal. 15

         After returning from the Gulf War, Chris was stationed on the USS Theodore Roosevelt in
Newport News, Virginia, working as a security officer. While in Virginia, he met his wife,
Shannon Marie Coleman (now Hasson), at the veterinarian’s office where they had both taken
their dogs for care. 16 Chris and Marie married and had their first child, Killian, while Chris was
still in the Marines. As Chris came to the end of his enlistment period, he decided to leave the
Marines to try civilian life. His commanding officers encouraged him to re-enlist, but the overseas
deployments had taken a toll on him and, with a young child at home, he wanted to try something
different.

        The transition back to civilian life was not as easy as Chris had imagined. Chris found
work in construction, but he missed the camaraderie of military service. While trying to replace
this type of connection, Chris began spending time with people in the punk rock world, many of
whom identified as white supremacists. Chris explored this social environment for a few months
before realizing it was not for him, as most of the people he met seemed idle and aimless, while
he had a young family to support. With the exception of one or two close friends, Chris cut ties
with the people he had been hanging out with and returned to his military roots. He joined the
Army National Guard in Virginia on June 17, 1994—less than six months after he left the Marine
Corps. 17

        After his brief, failed foray into civilian life, Chris knew that he wanted to return to military
service full-time. While working full-time, caring for his family, and serving in the Army National
Guard, Chris continued to look for opportunities to return to full-time military service. Enlisting


15
     See id. at 3-5.
16
  Mrs. Hasson goes by her middle name, Marie, although she is sometimes referred to as Shannon.
This memo will refer to her as Marie.
17
     See Exhibit 2 (Army National Guard Records).
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was more difficult the second time around, as many branches of the military did not want a recruit
who was a little older and already had a young child at home.

        The Coast Guard did not mind that Chris was twenty-seven or that he had a child, so Chris
officially enlisted in the Coast Guard in June 1996. His daughter, Maura, was born shortly
thereafter, in early 1997. Chris finally felt like he found the right fit with the Coast Guard, as it is
a smaller branch of service that treated its members well. He spent the next twenty-three years
proudly serving in the U.S. Coast Guard in South Carolina, Nevada, New Jersey, Alaska, Florida,
Virginia, and D.C.

        By all accounts, Chris had an extraordinary career in the Coast Guard up to the time of his
arrest. For the first twenty years of his career, Chris specialized in electronics and did a great deal
of hands-on work solving problems that arose in the Coast Guard fleet. He received his first Coast
Guard Award, a Coast Guard Meritorious Team Commendation for the Electronics Division of the
USCGC Gallatin, in November 1998. He continued receiving awards and honors regularly
throughout his career. 18 Fellow service members on the Gallatin remember Chris in positive terms
and describe him as funny and helpful. He stood out because he was older and a former Marine,
but he got along well with a diverse group of people and was a hard worker. Victor Laro, who
worked in the electronic shop with Chris, remembers that he and Chris were an unlikely pair, given
that Mr. Laro was practically right out of high school and from the East Coast, whereas Chris was
a nearly thirty-year-old former Marine who was from the Southwest. They quickly became
friends, bonding over their bald heads, and Mr. Laro remembers watching Chris adjust well to the
Coast Guard’s more relaxed style while they were on the ship.

        Chris continued to excel in his next position in Cape May, where he received a Letter of
Commendation for his work performance in early 2000. Chris received the highest marks possible
on his Enlisted Performance Evaluation form in late 2001, in which his supervisor stated that Chris
demonstrated “technical ability beyond what is expected of his current rank and experience.” 19
Jerome Brown, who served in Cape May with Chris, remembers Chris’s strong electronics skills.
Mr. Brown only had classroom skills when he got to Cape May, and Chris took him under his wing
and mentored him while they worked, developing a friendship in the process. They became close
enough that Chris was a groomsman in Mr. Brown’s wedding.



18
     See Exhibit 3 (Coast Guard Award Documentation).
19
     See Exhibit 4 (Coast Guard Performance Evaluations) at 2.
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        Chris continued to receive the highest accolades for his technical skills, his teamwork, and
his volunteerism as he rose through the enlisted ranks. He received Coast Guard Achievement
Medals for Outstanding Achievement from both June 2006–August 2008 and September 2008–
2010. The citation for his 2010 Medal describes him as “demonstrating exceptional leadership
and sound technical skill,” and praises him for his mentorship of junior technicians. 20 Chris was
awarded the Coast Guard Commendation Medal for his work from July 2010–June 2012 while
stationed in Petaluma, California. This award recognized his outstanding work as the Course Chief
at the Electronics Technician “C” School (a job-specific advanced training school), where he led
a team of instructors and served as the Human Relations Council Chairperson. Chris’s “efforts
significantly contributed to the celebration of diversity and increased awareness of equal rights for
all.” The 2012 Commendation Medal also highlighted his volunteer work in the community
delivering food to the homeless, completing community home renovation projects, and assisting
in English instruction for second graders at a nearby elementary school. 21

        Because of Chris’s excellent service, he rose through the ranks as quickly as possible,
earning promotions as soon as he completed the required time in grade and service for each grade.
In 2012, Chris earned a promotion to Chief Warrant Officer. The Warrant Officer position is for
those service members who have risen through the enlisted ranks due to their technical expertise.
The promotion was a significant one for Chris, as it raised his rank higher than other enlisted
service members’, although still lower than commissioned officers’.

        After his promotion to Chief Warrant Officer, Chris was transferred to work as a technical
expert in the Coast Guard Command, Control and Communications Engineering Center (C3CEN)
in Portsmouth, Virginia. He remained in Virginia for about four years until he was transferred to
Coast Guard Headquarters in Washington, D.C.

         Chris continued to excel while he was in Virginia, as evidenced by his glowing
performance reviews each year. Every year, without exception, Chris’s reviews gave high praise
for his technical and job skills, his ability work with and lead others, and his concern for coworkers
and community. 22 His first review with C3CEN describes him as “an amazing leader that gelled




20
     See Exhibit 3 at 11-12.
21
     See id. at 14-15.
22
     See Exhibit 4 (Coast Guard Officer Evaluation Reports).
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a diverse team into an one-stop support section,” and assigns Chris the reviewer’s “highest
recommendation for promotion with best of peers & selection to LT [lieutenant].” 23

           Family Life

        While serving his country, Chris also dedicated himself to providing and caring for his
family. Chris has been married to his wife, Marie, for over twenty-five years, and together they
raised their two children, Killian (now 25) and Maura (now 22). Killian is a student in Petaluma,
California, using the G.I. Bill educational benefits he earned while serving in the U.S. Marine
Corps. Maura recently left the Army and attends college in North Carolina, where she lives with
her infant son and her husband, who is recently back from deployment in the Army.

        By all accounts, Chris was a devoted husband and father. Maura recalls that whenever he
was not at work, he was home spending time with his family. He did most of the cooking—
including his kids’ favorite homemade macaroni and cheese with tomatoes—and also took charge
of the cleaning. Killian remembers realizing at a young age that he was very lucky because his
dad spent a lot more time with him than most of his friends’ fathers did. Chris and Killian enjoyed
spending time together outdoors, hiking, fishing, and camping. Maura recalls that her father “was
the one who taught me everything I know: from riding a bike, swimming, academics, to cooking
and hiking.” 24

        The Hassons’ family life was not without difficulty. Supporting a family of four on an
enlisted salary was not easy. Chris often worked additional jobs in his off time to help support the
family. Marie, who loves animals, worked as a behavioral specialist for dogs when she could.
However, she often was unable to work due to a variety of serious health conditions, including
spina bifida, narcolepsy, and fused vertebrae, among others. Over the years, she has struggled to
find the right medications to address her health issues, which has been physically difficult and
emotionally trying for the whole family. Maura remembers a time when the family lived in
California that Marie’s health was so bad that she was essentially unable to leave her bedroom for
a year. During that year, Chris worked, took care of the home and the kids, fed Marie, and made
sure that she got all the rest she needed. Killian similarly remembers that Chris was very attuned




23
     Id. at 3.
24
     See Exhibit 8 (Letter from Maura Harper).
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to how Marie was feeling, always stepping up at home and encouraging her to get rest. Maura
describes her father as “the most stable, supportive, caring, selfless individual in [her] life.” 25

        Chris’s mother and father, who are now retired from social work and engineering, still live
in Arizona. Chris kept in touch with them through regular phone calls no matter where he was
stationed, and spent Christmas with them in 2018 shortly before his arrest.

           Promotion to Lieutenant and Move to D.C.

       In May 2016, after twenty years in the Coast Guard, Chris was promoted to Lieutenant. 26
The promotion meant that Chris was now a commissioned officer, with a commission directly
from the President. This was no small feat, especially given that Chris never earned a bachelor’s
degree, which is a traditional prerequisite to receiving an officer commission. His brother Matt,
who spent his career as a commissioned officer in the U.S. Air Force, writes that Chris “is the only
person [Matt] has known to be able to do that. That kind of success and achievement is not just
‘given out’…that is earned through superior service, dedication, commitment, and an impeccable
record.” 27

        The promotion to Lieutenant moved Chris out of the Coast Guard’s technical labor force
and into a more executive-type position. He was transferred to Coast Guard Headquarters in
Washington, D.C. The transition was more difficult than Chris anticipated. He went from living
in a single-family home surrounded by land in rural North Carolina to a basement apartment in
Silver Spring. Chris moved alone, while his wife stayed behind for the first year. Chris found
himself spending over an hour commuting to work on multiple bus lines or sitting in traffic, only
to then sit behind a desk all day working at a computer. Working at a desk all day, every day, did
not suit Chris at all. Nor did living in a city. He missed working on base. He felt out-of-place
and uncomfortable in an office environment and in Washington, D.C.

       Chris’s friends who had come up with him in the enlisted ranks were surprised he accepted
a promotion to Lieutenant. In his prior position of Chief Warrant Officer, his title reflected his
decades of experience and his unique technical skills. Once he became a Lieutenant, the
recognition of his expertise was largely wiped away and he was essentially just another Lieutenant,
along with many others at Headquarters who became officers right out of college. The sense of

25
     Id.
26
     See Exhibit 3 at 16.
27
     See Exhibit 8 (Letter from Matthew Hasson).
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camaraderie Chris initially found in the Coast Guard was missing, and instead he felt like a fish
out of water.

         While he was trying to adjust to a new work environment, Chris was also experiencing
significant stress in his personal life. Both of his children graduated from high school and went
straight into the military. The Hassons were proud of their children’s service, but as is the case
with many couples, they had to figure out what their relationship looked like now that it was not
centered around raising children anymore. The Hassons separated for a period and Chris spent a
year living in D.C. alone. Chris had no friends or family in the D.C. area and spent most of his
free time alone. He joined a Brazilian jiu-jitsu studio, although he had little experience with martial
arts, in an effort to get some exercise and find a hobby to fill his time. He was older than most of
the other students and had to work hard to keep up in class. Roberto da Silva, his jiu-jitsu
instructor, remembers Chris as a respectful, polite student who got along well with his fellow
classmates and was always willing to help other students.

        Chris’s tramadol use escalated to a problematic level during this difficult time in his life.
Chris had taken tramadol prescribed to his wife occasionally in the past for pain. Eventually, he
started using it regularly as a way to ease his mind as well as his body. His tramadol use peaked
during his time in D.C., when he was largely alone and unhappy. The tramadol made Chris
lethargic and even more introverted than usual. He did little more than work and sleep during the
height of his tramadol abuse. Chris recognized that he had developed an addiction and tried
multiple times to wean himself off the drug, but he found himself unable to do so.

        For the most part, Chris kept his personal and professional struggles to himself. He and
his wife eventually reconciled, and in 2017 she moved up to join him in D.C. Chris maintained an
extremely close relationship with his son, Killian, talking and texting with him every day. Chris
went through a rocky period with his daughter, Maura, after she posted pictures of her wedding on
Facebook without telling the family she was getting married. But Chris remained supportive of
her and they, too, reconciled. Chris continued to show kindness and generosity toward others; for
example, the tenants renting his home in North Carolina report that he took hundreds of dollars off
their rent each December as a Christmas gift.

       Despite his drug use and other stressors, Chris also continued to excel at work. His first
performance review at Coast Guard headquarters, in July 2017, describes how he had an
“immediate & positive impact to mission success of the USCG’s most technologically advanced
cutter” (a large Coast Guard vessel) and earned him the reviewer’s “highest possible
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recommendation for promotion to O4” (Lieutenant Commander). 28 Chris’s most recent
performance review, from July 2018, earned him a similarly high recommendation, describing him
as “a consummate Mission Support team player & leader w/in NSC program.” 29

        Despite his struggles, Chris remained committed to his work and the Coast Guard mission,
even as he approached retirement age. He hoped to remain connected to the Coast Guard and,
shortly before his arrest, had even corresponded with his old supervisor, Jeff Cavallo, about the
possibility of moving back to his home in North Carolina and working as a contractor at C3CEN.
Chris knew he was struggling and that something needed to change, but he had not figured out
how to make the change yet.

          Arrest and Incarceration

        Chris’s arrest in February 2019 shocked all those who know him. Chris’s brother, Matt,
writes: “to say I was shaken with the allegations against my brother is an understatement I can’t
truly put into words.” 30 To Chris’s friends, family, and colleagues, what was reported in the press
seemed completely out of character. The case has been particularly hard on his family, but they
have stood by him and continue to support him.

       Since his arrest, Chris has been held at the Chesapeake Detention Facility (CDF) in
Baltimore. While there, Chris has maintained daily telephone contact with his family. His wife
and daughter have made the lengthy drive to visit him several times, and Chris was able to meet
his new grandson for the first time through the visitation room glass. Chris’s parents, in-laws, and
others have traveled from around the country, on multiple occasions, to attend his court
proceedings.

         Chris has adjusted as well as possible to his surroundings. As reflected in the letters from
other men housed with him at CDF, Chris has become friends with the others in his unit and has
built a small support community within the confines of the jail. 31 Chris is in the protective custody
unit because of the media coverage surrounding his case, so he has not been able to participate in
even the limited programs available to other inmates. Chris has, however, sought out spiritual
counseling and meets regularly with Father Chuck Canterna (a Catholic priest who visits the jail

28
     See Exhibit 4 (Coast Guard Officer Evaluation Reports) at 19-20.
29
     See id. at 21-22.
30
     Exhibit 8 (Letter from Matthew Hasson).
31
     See Exhibit 8 (Letters from Spencer Steckman and Ryan Smith).
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periodically) and two lay Catholic volunteers at CDF. Father Chuck describes Chris as sincere,
open about his struggles, committed to growing in his faith, and one of the bright spots of Father
Chuck’s prison ministry. Those who know Chris best see clear changes in him over the last several
months. Chris is deeply remorseful for his conduct and especially for the difficulty and pain it has
caused his family. Chris is eager to put this chapter behind him and try to rebuild his life.

           IV.     Nature and Circumstances of the Offenses

        Another factor that the Court must consider under § 3553(a) is the nature and circumstances
of the offense. Each of the offenses to which Mr. Hasson has pled guilty is discussed in turn below.

                   A.    Tramadol Possession – 21 U.S.C. § 844

        Mr. Hasson pled guilty to one count of unlawful possession of tramadol, a misdemeanor
offense in violation of 21 U.S.C. § 844. Tramadol is a Schedule IV opioid pain killer that can be
lawfully used with a prescription from a doctor. Mr. Hasson bought tramadol online, without a
prescription, which he admits made his possession of the drug unlawful.

        In light of his well-documented struggle with tramadol abuse, Mr. Hasson was evaluated
by Dr. Kelly Dunn, a behavioral pharmacologist and tramadol expert at Johns Hopkins. Dr. Dunn
diagnosed him with Severe Opioid Use Disorder. Dr. Dunn further observed that the extremely
high doses of tramadol that Mr. Hasson was consuming likely resulted in a mood disturbance,
affecting his behavior and state of mind in the period leading up to his arrest. Her findings are
discussed below and outlined in a report that accompanies this memorandum. 32

           Tramadol’s History and Potential for Abuse

       Tramadol has been commercially available in the United States as an analgesic since 1977,
under the brand name Ultram. 33 For decades, Tramadol was a non-controlled substance, because
there was limited evidence of its potential for abuse. 34 In 2014, the DEA reclassified tramadol

32
  Dr. Dunn is a behavioral pharmacologist, researcher, and professor at Johns Hopkins University
School of Medicine. She is an expert in opioid use disorder and treatment and has conducted
extensive, published research on the abuse potential of tramadol. Dr. Dunn prepared a report
concerning her assessment of Mr. Hasson, which is attached hereto as Exhibit 5 (hereinafter,
“Dunn Report”). Her complete CV is appended to Exhibit 5.
33
     Id. at 1-2.
34
     Id. at 2.
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form unscheduled to Schedule IV. At the same time, the DEA moved hydrocodone (Vicodin)
from Schedule III to Schedule II. The result of this rescheduling was a sharp decline in
prescriptions for hydrocodone and a corresponding sharp increase in prescriptions for tramadol,
since Schedule II medications are more difficult to prescribe and viewed as riskier for patients. As
a result, rates of tramadol abuse are increasing within the United States and throughout the world. 35
Research shows that tramadol does have abuse potential and that its abuse potential is unique from
other opioids, in that it is more likely to be abused in its oral (as opposed to injectable)
formulation. 36

           Mr. Hasson’s Use of Tramadol

        Mr. Hasson at first used tramadol only occasionally, taking pills prescribed to his wife to
treat episodic pain from headaches. He began abusing tramadol as early as 2012. The drug made
him feel good and helped him cope with feelings of depression. Mr. Hasson began ordering the
pills online. At that time, they were not a controlled substance and therefore were readily available
with little associated risk. 37 Mr. Hasson’s use of tramadol escalated over time, as a result of his
growing opioid tolerance, a common feature of opioid use. By the time of his arrest, Mr. Hasson
was consuming 1,000 to 1,300 milligrams of tramadol per day, which is more than four times the
approved dose. 38 Like many Americans, Mr. Hasson had become addicted to the pain medication.
He developed Opioid Use Disorder, which is a chronic illness that afflicted over two million
Americans as of 2016. 39

        Dr. Dunn conducted an evaluation of Mr. Hasson at CDF to determine whether he satisfied
the criteria for a diagnosis of Opioid Use Disorder (OUD). OUD is a formal diagnosis with the
5th edition of the Diagnostic and Statistical Manual (DSM-5) published by the American
Psychiatric Association. A diagnosis of OUD “signifies opioid misuse that interferes with the




35
     Id.
36
     Id. at 2-3.
37
     See id. at 4.
38
     Id.
39
   See National Institute on Drug Abuse, Medications to Treat Opioid Use Disorder, at 3 (June
2018), available at https://www.drugabuse.gov/node/pdf/21349/medications-to-treat-opioid-use-
disorder.
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individual’s life, and a general lack of control over behavior.” 40 OUD comprises 11 symptoms,
and severity is diagnosed by determining the number of symptoms met within the last 12 months.
Six or more symptoms indicates severe OUD. 41 Because Mr. Hasson credibly endorsed each of
the 11 criteria, Dr. Dunn diagnosed him with Severe OUD. Although DSM diagnosis pertains
only to the past year, Dr. Dunn was able to conclude with confidence, based on Mr. Hasson’s
history, “that the defendant’s OUD developed several years prior to the 12-month evaluative
period.” 42

        Dr. Dunn observed that Mr. Hasson’s pattern of use was “consistent with a common
trajectory of opioid use to OUD” and that his “experience is consistent with that of hundreds of
other patients” with whom she has spoken. Dr. Dunn further observed: “Many of the defendant’s
behaviors are entirely consistent with severe OUD, including his continued use of tramadol despite
the increased potential for consequences, his efforts to repeatedly procure tramadol via the internet
and ensure he always had a viable supply available, and his inability to fully taper himself off of
tramadol.” 43

           Behavioral Effects of Tramadol Abuse

       Dr. Dunn also assessed the likely behavioral effects of Mr. Hasson’s tramadol abuse. She
explained:

           The fact that the defendant’s OUD was based on high dose tramadol has additional
           implications. As noted earlier, tramadol works on the opioid, serotonin, and

40
     Exhibit 5 (Dunn Report), at 1. Dr. Dunn summarized the symptoms of OUD as follows:

           Opioid tolerance and withdrawal are part of the OUD checklist but cannot
           themselves indicate OUD without the presence of corresponding maladaptive or
           problematic behaviors. Additional symptoms include using more of the drug then
           was intended when they started, repeatedly trying to cut down/control drug use
           without success, spending substantial time trying to procure the drug, craving the
           drug, having trouble meeting responsibilities at work, school, or home because of
           drug use, continuing to use the drug despite it causing problems between the
           individual and family/friends, using it in situations where it put others at risk, and
           using it despite it being clearly linked to worsening of psychiatric problems.
41
     Id.
42
     Id. at 4.
43
     Id.
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           norepinephrine systems. The serotonin system underlies mood and is the target for
           some of the most efficacious anti-depressant medications. Collateral activation of
           these three systems means that tramadol can produce side effects that are not
           observed from other opioids.

        Mood disturbance is one such “prominent” side effect of tramadol use. 44 Case reports have
shown “evidence of significant mood disturbance in persons with no history of psychiatric
dysfunction following much smaller doses of tramadol than what was consumed by the
defendant.” 45 These effects include hallucinations and manic behavior. And in individuals with
previous psychiatric diagnoses, tramadol has been associated with the onset of psychosis or severe
mania. Dr. Dunn explains that these “unexpected psychiatric effects are hypothesized as being the
result of serotonin syndrome.” When moderate to severe, serotonin syndrome “is characterized
by mood disturbance that can include agitation and delirium.” Dr. Dunn found a “high probability”
that Mr. Hasson was experiencing some of these serotonergically-mediated symptoms as a result
of the extremely high doses of tramadol that he was ingesting. 46

         Opioid Use Disorder is also highly correlated with depression, with up to 44% of
individuals who misuse opioids showing evidence of depression. The relationship appears to be
“bidirectional,” in that “persons with depression are significantly more likely than those without
depression to initiate opioid misuse and develop OUD,” while at the same time the “risk of
developing depression and treatment-resistant depression increases as the duration of opioid
exposure increases.” 47 Dr. Dunn observes that Mr. Hasson’s OUD “was likely related, at least in
part, to preexisting underlying depression.” 48

           Treatment Recommendations

        Opioid Use Disorder is a chronic relapsing—but treatable—disease. Evidence shows that
effective treatment strategies include a combination of medications and behavioral counseling. Dr.




44
     Id. at 5.
45
     Id.
46
     Id.
47
     Id.
48
     Id.
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Dunn recommends that Mr. Hasson receive medication-assisted treatment and finds that his
prognosis for full recovery is good. 49

                 B.     Firearms Possession – 18 U.S.C. § 922(g)(3)

        Mr. Hasson pled guilty to one count of unlawful possession of firearms by an addict or user
of a controlled substance, in violation of 18 U.S.C. § 922(g)(3). This charge relates to the fact that
Mr. Hasson continued to possess firearms after his chronic tramadol use made it unlawful for him
to do so. Mr. Hasson has owned firearms since long before he started abusing tramadol; however,
he acknowledged with his guilty plea that his substance abuse made it unlawful for him to continue
to own firearms that he otherwise could lawfully have possessed.

        Mr. Hasson has owned and used firearms throughout his entire adult life, both in
connection with his military service and recreationally. He has periodically bought, sold, and
traded different firearms, always maintaining a collection of guns. 50 The home that Mr. Hasson
and his wife own in rural North Carolina, which the FBI has visited, has a makeshift firing range
on the property. Mrs. Hasson shoots recreationally, as well, and belongs to a ladies’ gun club.

        Throughout these proceedings, the government has argued that the quantity and nature of
firearms possessed by Mr. Hasson are indicative of an intent to use them for criminal purposes.
We note that Mr. Hasson, who is 50 years old, has no history of unlawfully using firearms or
committing acts of violence. The government’s argument is misplaced and reflects a skewed
cultural lens that we urge this Court to set aside.

           Owning Multiple Guns Is Not Unusual

        The government has argued that Mr. Hasson’s ownership of 15 firearms suggests an intent
to use them unlawfully. However, many law-abiding Americans own multiple guns. Two-thirds
of gun owners say they own more than one gun, including 29% who own five or more guns. 51 As

49
     Id.
50
   The purchases of the firearms charged in the indictment took place between 2009 and 2017,
according to the government’s investigation. See Dkt. No. 25, at 3. However, Mr. Hasson’s
interest in and ownership of firearms dates back long before that, at least to the start of his military
service in 1988.
51
   Pew Research Center, America’s Complex Relationship with Guns (2017), at 17, available at
https://www.pewsocialtrends.org/2017/06/22/the-demographics-of-gun-ownership [hereinafter
“Pew Report”].
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of 2016, it was estimated that 7.7 million Americans owned between 8 and 140 guns. 52 Gun
owners have many reasons for owning multiple firearms, including collection, variety,
accumulation over time, and in some cases, stockpiling. As one study observed, “[s]ome gun
owners have a survivalist streak, and believe in storing up weapons, as well as food and water, in
case of a disaster scenario.” 53

           Gun Ownership Strongly Correlates with Military Service

         Military service has been found to be “the strongest predictor of gun ownership.” 54 Nearly
half of all veterans own firearms, with the majority reporting that they own both handguns and
long guns. 55 As the Court is aware, Mr. Hasson has served in the military for nearly his entire
adult life.

           Mr. Hasson Falls Within Multiple Demographics Most Likely to Own Guns

        In addition, gun ownership is more common among men than women, with white men
being especially likely to own guns: “About half (48%) say they own a gun, compared with about
a quarter of white women and nonwhite men (24% each) and 16% of nonwhite women.” 56
Nationally, gun ownership is much more common among those who live in rural areas (where 46%
own guns), compared to suburbs (28%) or urban areas (19%). 57 “There are also significant
differences across parties, with Republican and Republican-leaning independents more than twice
as likely as Democrats and those who lean Democratic to say they own a gun (44% vs. 20%).” 58



52
  Lois Beckett, Gun Inequality: US Study Charts Rise of Hardcore Super Owners, The Guardian
(Sept. 19, 2016), at 2, available at https://www.theguardian.com/us-news/2016/sep/19/us-gun-
ownership-survey [hereinafter, “Guardian Report”].
53
     Id. at 4.
54
     Id. at 3.
55
   Cleveland et al., Firearm Ownership Among American Veterans: Findings from the 2015
National    Firearm     Survey,    Injury   Epidemiology   4:33   (2017),  available at
https://www.researchgate.net/publication/321894846_Firearm_ownership_among_American_vet
erans_findings_from_the_2015_National_Firearm_Survey.
56
     Pew Report, at 18.
57
     Id. at 16.
58
     Id.
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          The Types of Guns and Accessories that Mr. Hasson Owned Are Commonplace

        The government has argued at various points that the types of weapons and accessories
possessed by Mr. Hasson are indicative of some nefarious intention. The government has brought
several of the rifles he owned into Court to demonstrate that they are “scary looking.”

        However, all of the firearms seized from Mr. Hasson’s home were lawful to own. Indeed,
AR-15-style rifles are among the most popular firearms in America. Gun owners are drawn to
them because of features including their “modular design, light weight, ease of use, low recoil and
extraordinary flexibility.” 59 AR-15-style weapons account for approximately 60% of all civilian
rifle purchases and one out of every five firearms purchased in the U.S. 60 While gun-control
advocates call them “assault rifles,” gun owners regard them as “modern sporting rifles.” Under
either name, they are widely recognized as America’s most popular rifle. 61

        The firearms accessories, such as sights and grips, that the government has highlighted are
also routinely used and widely owned items. A sight or scope helps the gun user aim at a target
and is essential to effectively using a rifle. Grips help with recoil control and ergonomic use of
the rifle. All of these accessories are readily commercially available and widely customizable
based on the needs, comfort, and budget of the user.

        Body armor, like the two vests found in the Hassons’ home, is also widely commercially
available and relatively inexpensive. Sets of tactical vests with two armored plate inserts are
readily available through numerous online retailers for less than $200. 62 This type of gear is
popular among “disaster preppers,” like the Hassons, who stockpile survivalist gear for all manner
of doomsday-type scenarios. It may sound quirky or crazy to those of us who do not subscribe to
such views, but there are huge numbers of blogs, websites, and other materials devoted to




59
   Dan Haar, America’s Rifle: Rise of the AR-15, Harford Courant (Mar. 9, 2013), available at
https://www.courant.com/business/ar-15/hc-haar-ar-15-it-gun-20130308-column.html.
60
  Id.; Jon Schuppe, NBC News, America’s Rifle: Why So Many People Love the AR-15 (Dec.
27, 2017), available at https://www.nbcnews.com/news/us-news/america-s-rifle-why-so-many-
people-love-ar-15-n831171.
61
     See, e.g., id.
62
     See, e.g., https://www.bodyarmormegastore.com (among many others).
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“prepping.” Body armor is considered an essential item, with many prepper websites offering
recommendation about the best type to own. 63

          The Quantity of Ammunition Possessed Is Not Unusual

       The government has also suggested that the quantity of ammunition found in Mr. Hasson’s
home – over 1,000 rounds – is suggestive of some nefarious intent. 64 In fact, this is an
unremarkable quantity of ammunition. According to the National Shooting Sports Foundation,
“the consumption of 1,000 rounds or more is often routine for a weekend trip to the range.” 65
Increased consumption of ammunition has accompanied the rising popularity of consumer versions
of military-style rifles as well as high-capacity magazines, which are widely commercially
available online and in stores. 66

          Attitudes Toward Gun Ownership Differ Sharply Based on Personal Experience

       We urge the Court to consider Mr. Hasson’s firearm possession within the context of his
background and experience. Attitudes toward firearms differ throughout our diverse nation.
Negative views about guns are more common among non-gun owners, while positive views of
guns are more common among gun owners. 67 In addition, “[p]artisanship and ideology are
strongly correlated with views about the importance of gun ownership as a guaranteed right.” 68

        Moreover, divergent attitudes toward guns tend to be self-reinforcing. For example,
“adults who grew up with guns in their households are far more likely than those who did not to




63
   See, e.g., Bullet Proof Blog, The Ultimate Ballistic Body Armor Guide for Preppers and
Survivalists (Aug. 25, 2018), https://bulletproofzone.com/blogs/bullet-proof-blog/the-ultimate-
ballistic-body-armor-guide-for-preppers-and-survivalists (describing body armor as “essential”
during any “catastrophic situation” and explaining that only hard armor – not Kevlar – will provide
adequate protection).
64
     See, e.g., Dkt. No. 9, at 6.
65
  See Peter Henderson & Daniel Trotta, What’s Missing in US Gun Control Scramble? Bullets,
Reuters (Jan. 20, 2013).
66
     See, e.g., id.
67
     See, e.g., Pew Report, at 27-28.
68
     Id. at 31.
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be gun owners themselves.” 69 In addition, gun owners more often tend to exist in social circles
where gun ownership is common. The Pew Report found:

          Roughly half of all gun owners say that all or most of their friends own guns. An
          additional 38% say some of their friends own guns and 13% say only a few do. In
          stark contrast, among the non-gun owning public, only one-in-ten say all or most
          of their friends own guns. These social connections are strongly tied to gun use, as
          gun owners who say all or most of their friends own guns engage more frequently
          in hunting and sport shooting than those with fewer friends that own guns. 70

        In sum, we ask the Court to consider that Mr. Hasson’s collection of firearms may look
much different to someone of his background than it does to those of us residing in the suburbs of
Washington, D.C. Mr. Hasson should not be disproportionately penalized simply because his case
is being prosecuted in the Southern Division of the District of Maryland rather than the Eastern
District of North Carolina – where his home is located – or any other district that is more hospitable
to firearms.

                  C.     Silencers – 26 U.S.C. § 5861

        Mr. Hasson also pled guilty to two regulatory violations of the National Firearms Act:
possession of unregistered silencers (26 U.S.C. § 5861(d)) and possession of silencers unidentified
by serial numbers (26 U.S.C. § 5861(i)). Both charges pertain to Mr. Hasson’s possession of two
prepackaged kits, sold online, to assemble your own silencer at home. One kit was assembled and
the other was not. The National Firearms Act requires registration and identification by serial
number of such devices, which Mr. Hasson did not complete.

        The Court heard extensive testimony and has reviewed lengthy briefing on the use and
regulation of silencers, and so we will not rehash all of that information here. 71 We will simply
highlight some key facts that are necessary to put in perspective the offenses of conviction.




69
     See id. at 23.
70
     Id. at 29.
71
  See Dkt. Nos. 62 & 76 (briefing on Second Amendment motion); Transcript of Testimony of
Daniel O’Kelly (Sept. 9, 2019 Motions Hearing) [hereinafter, “O’Kelly Testimony”].
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        Over the last ten years, demand for silencers has increased exponentially. 72 Silencers are
popular and desirable among gun owners for their primary benefit of providing hearing protection.
They also have the added benefit of reducing muzzle rise and thereby improving accuracy. 73 Gun
owners commonly use silencers at shooting ranges and elsewhere when they practice firing their
weapons. Silencers are commercially available in gun stores and can also be made at home.
Silencers are widely used for lawful purposes. Silencers are seldom used in the commission of
crimes. 74

       Despite their popularity and lawful uses, the process for acquiring a silencer under the
National Firearms Act is burdensome and time-consuming. 75 Surging application volumes have
created lengthy delays in the approval process. 76 Complaints among the public and within ATF
about these delays are widespread. As a result, there have been substantial legislative pushes to
remove silencers from the regulations of the NFA. 77 Many gun owners, lawmakers, and industry
professionals view it as simply unnecessary to treat silencers – which are a harmless device – in
the same fashion as machineguns, destructive devices, and short-barreled rifles, which are
dangerous weapons that are much more commonly used in the commission of crimes. 78

      Notwithstanding these policy considerations, Mr. Hasson acknowledges that it was
unlawful for him to possess a silencer without completing the regulatory process prescribed by the
NFA. As a result, he has pled guilty to violating those regulations.

          V.       The Applicable Sentencing Guidelines

        Another factor that the Court must consider is the applicable Sentencing Guidelines. In
this case, we agree with the Guidelines calculations set forth in the Presentence Investigation



72
     See, e.g., Dkt. No. 62, at 12-13.
73
     See, e.g., id. at 7-9.
74
     See, e.g., id. at 14-15; O’Kelly Testimony at 104-106.
75
     See, e.g., O’Kelly Testimony at 102.
76
  The Court summarized witness testimony on this issue as follows: “there is a backlog, it takes a
really, really long time to get a silencer.” See Transcript of Mots. Hearing (Sept. 9, 2019), at 48.
77
     See, e.g., Dkt. No. 62, at 13-14.
78
     See, e.g., O’Kelly Testimony at 109-10.
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Report (PSR). However, we respectfully submit that the Court should vary downward for policy
reasons set forth below.

               A.     The PSR Correctly Calculates the Guidelines Range.

        The PSR groups all four counts of conviction pursuant to U.S.S.G. § 3D1.2(c), (d) and uses
Count One (possession of an unregistered silencer) as the basis for the Guidelines calculation. PSR
¶¶ 22, 23. The PSR assigns Mr. Hasson a base offense level of 20 under U.S.S.G. § 2K2.1(a)(4)(B)
because (1) he was a prohibited person when he committed the instant offense, and (2) the offense
involved a semiautomatic firearm that is capable of accepting a large capacity magazine (LCM)
and “a firearm that is described in 26 U.S.C. § 5845(a).” PSR ¶ 25. Although the PSR does not
specify, the latter weapon is presumably the silencer referenced in Count One of the indictment.
See § 5845(a)(7) (defining “firearm” to include “any silencer”). The PSR also applies a four-level
enhancement under U.S.S.G. § 2K2.1(b)(1)(B) because the offense involved between 8 and 24
firearms. PSR ¶ 26.

       After a two-level reduction for acceptance of responsibility, the PSR calculates a total
offense level of 22. PSR ¶ 34. Mr. Hasson has no juvenile adjudications or adult criminal
convictions and therefore falls in Criminal History Category I, yielding an advisory Guidelines
range of 41-51 months in prison. PSR ¶¶ 35-37, 64.

               B.     The Court Should Vary Downward Because the Base Offense Level
                      Overstates the Seriousness of Mr. Hasson’s Offense.

       Although we agree that the Guidelines range calculated by the PSR is technically correct,
we submit that the base offense level overstates the seriousness of the offense and should be
discounted on policy grounds.

        The base offense level in this case reflects a six-level bump because the offense involved
a silencer and an LCM-enabled firearm. Had the offense involved neither of those specific
features, Mr. Hasson’s base offense level would be 14, rather than 20. See U.S.S.G. § 2K2.1(a)(6)
(base offense level 14 if defendant was a prohibited person at time of the offense). Keeping all
other Guidelines calculations the same, a base offense level of 14 would produce a total offense
level of 16 and an advisory Guidelines range of 21-27 months’ imprisonment. The Court should
vary down to this range because neither silencers nor LCMs warrant such a dramatic increase to
the base offense level.
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        Unlike most of the weapons that call for an enhanced base offense level under U.S.S.G.
§ 2K2.1(a)(4)(B)(i)(II), silencers are not inherently dangerous devices. See § 5845(a) (listing
short-barreled shotguns, short-barreled rifles, machineguns, and destructive devices). They do not
fire bullets themselves, and they do not render firearms more deadly or more dangerous. 79 To the
contrary, silencers enhance the safety of firearm use, as shooting firearms without some form of
sound suppression can cause permanent hearing damage. 80 And while silencers’ sound-
suppression effects are substantial enough to protect firearm users’ health, they are not so great as
to render a gunshot inaudible. A silencer typically reduces the sound of a gunshot—which, on
average, registers 150 decibels—by 20-30 decibels. Thus, contrary to popular perception, the
report from a gun with an attached silencer will still, in most instances, make as much sound as a
power tool, a lawnmower, or a chainsaw. 81 In short, there is no reason to believe silencers enable
violent criminals to avoid detection or otherwise facilitate the commission of crime.

         Silencers also improve accuracy by reducing muzzle rise, which reduces the risk that a
firearm user will accidentally injure someone nearby. 82 And affixing a silencer to a firearm
increases the overall size of the weapon, making it harder to conceal. 83 It is therefore unsurprising
that silencers are virtually never used in violent crimes. 84 At the motions hearing, Mr. O’Kelly
testified that in his 34 years in law enforcement—including eleven years with local police
departments and 23 years with the ATF—he never encountered a single case in which a silencer
was used in the commission of a violent crime. 85

       Indeed, ATF Form 4 requires purchasers of machine guns, short-barreled rifles, short-
barreled shotguns, and destructive devices to certify that they have a “reasonable necessity” to
possess those weapons, and that doing so “would be consistent with public safety”—but it does



79
     See Dkt. No. 76, at 21.
80
     O’Kelly Testimony, at 96-98.
81
     Id. at 94-95.
82
     Id. at 96-98.
83
     Id. at 106.
84
  Dkt. No. 62, at 14 (“Between 2012 and 2015, only 390 silencers were recovered from crime
scenes where an ATF trace was requested—compared to more than 600,000 pistols in the same
period.”).
85
     O’Kelly Testimony, at 72-73, 106.
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not require a similar certification from those wishing to purchase silencers. 86 That ATF exempts
silencers from this certification requirement suggests that the agency tasked with regulating NFA
firearms does not perceive silencers to be dangerous. This judgment is consistent with the views
of the 42 states where silencer possession is entirely legal. 87 Even the government in this case has
never articulated—either in its written response to Mr. Hasson’s Second Amendment motion or at
the motions hearing—any legitimate public interest in restricting the possession of silencers.

        Given the lawful purposes for which firearm owners use silencers, and given the lack of
any evidence that banning silencers improves public safety, it makes little sense to dramatically
increase Mr. Hasson’s offense level based on the presence of a silencer. The Court should
therefore exercise its discretion to disagree with § 2K2.1(a)(4)(B)(i)(II) as a policy matter. See
United States v. Rivera-Santana, 668 F.3d 95, 101 (4th Cir. 2012) (“[A] sentencing court may be
entitled to consider policy decisions underlying the Guidelines, including the presence or absence
of empirical data.”); United States v. Engle, 592 F.3d 495, 502 (4th Cir. 2010) (“[D]istrict courts
may vary from Guidelines ranges based solely on policy considerations, including disagreements
with the Guidelines.”).

        As for LCM-enabled firearms, magazines with a capacity of more than ten rounds are, for
the most part, entirely lawful to possess. Only eight states banned or heavily regulated the
possession of such magazines as of July 2018, 88 and federal law does not regulate them at all. 89
More than 250 million magazines capable of holding at least 11 rounds are in circulation in the
United Sates, of which 100 million can hold at least 30 rounds. 90 Since expiration of the federal
assault weapons ban in 2004, ten-round magazines have been standard for most semiautomatic

86
     Transcript of Testimony of Gary Schaible (Sept. 9, 2019 Motions Hearing), at 34-36.
87
     Dkt. No. 62, at 13.
88
   Matthew Larosiere, Losing Count: The Empty Case for “High-Capacity” Magazine
Restrictions, Cato Institute (July 17, 2018), https://www.cato.org/publications/legal-policy-
bulletin/losing-count-empty-case-high-capacity-magazine-restrictions.
89
  Martha Bellisle, High-capacity magazines get new scrutiny as Congress returns, abcNEWS
(Sept. 2, 2019), https://abcnews.go.com/US/wireStory/high-capacity-magazines-scrutiny-
congress-returns-65345381.
90
   Griff Witte, As mass shootings rise, experts say high-capacity magazines should be the focus,
Washington Post (Aug. 18, 2019), https://www.washingtonpost.com/national/as-mass-shootings-
rise-experts-say-high-capacity-magazines-should-be-the-focus/2019/08/18/d016fa66-bfa3-11e9-
a5c6-1e74f7ec4a93_story.html.
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rifles and pistols sold in the United States. 91 And a leading study on the effects of that legislation
found “very, very little evidence, almost none, that gun violence was becoming any less lethal or
any less injurious during [the course of the Assault Weapon and Large Capacity Magazine (LCM)
ban].” 92

        In light of LCMs’ lawfulness, prevalence, and tenuous connection to criminal activity, the
presence of an LCM-enabled firearm does not distinguish Mr. Hasson’s firearm possession from
a typical case in a way that would justify increasing his base offense level by six levels. Cf. United
States v. Tutty, 612 F.3d 128, 132 (2d Cir. 2010) (explaining that in previous case, court held child-
pornography sentence substantively unreasonable because “the child pornography Guidelines
provide for a series of enhancements that apply in virtually every case” and therefore “result in
virtually no distinction” between serious and less serious offenders). The Court should therefore
vary down to a range consistent with a base offense level of 14, rather than 20. An offense level
of 20 significantly overstates the seriousness of the firearms-possession offenses to which Mr.
Hasson has pled guilty, which is more proportionately reflected in an offense level of 14.

                  C.      No Additional Guidelines Factors Apply.

        Pursuant to the plea agreement in this case, the government has reserved the right to seek
a laundry list of additional enhancements under the Guidelines, including but not limited to
U.S.S.G. §§ 2K2.1(b)(6)(B) (use of a firearm in connection with another felony), 3A1.1(a) (hate
crime motivation), 3A1.2(a) (government victim), 3A1.4 (promotion of a federal crime of
terrorism), 3B1.3 (abuse of trust), and 4A1.3(a) (under-representation of criminal history). 93 We
are not aware of any factual or legal basis to apply these or other Guidelines enhancements. We
respectfully agree with the Guidelines calculation set forth in the PSR. To the extent the
government offers, in its sentencing memorandum, a theory in support of additional Guidelines
factors, we will address its arguments in a response.




91
   National Shooting Sports Foundation, Fast Facts, Another Ban on “High-Capacity”
Magazines?, https://www3.nssf.org/share/factsheets/PDF/HighCapMag.pdf (last visited Jan. 2,
2020).
92
     Larosiere, supra (citation omitted).
93
     Dkt. No. 94, at 6.
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       VI.     The Appropriate Sentence

        Applying all of the relevant sentencing factors set forth in § 3553(a), we respectfully submit
that the appropriate sentence is time served (Mr. Hasson has been incarcerated for just under one
year) followed by a three-year term of supervised release.

               A.      The Goals of Sentencing

       The Court’s statutory mandate is to impose a sentence that is “sufficient, but not greater
than necessary, to comply with the purposes” of sentencing set forth in 18 U.S.C. § 3553(a)(2).
Each of these objectives, which are discussed in turn below, are served by the proposed sentence.

               Punishment

         The first objective that the Court must consider is the need for the sentence imposed “to
reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment
for the offense.” Id. § 3553(a)(2)(A).

        Mr. Hasson has already been amply punished simply by the fact of his prosecution and
nearly one year spent in pretrial detention. As the result of the government’s filings in this case,
he has been publicly labeled a domestic terrorist, an extremist, and a racist, despite the lack of any
charges related to those allegations. The intense media scrutiny that those allegations have
received will ensure that he continues to be punished by the stigma of this case for the rest of his
life. In any case, the collateral consequences of a criminal conviction are steep for a first-time
offender. 94 They are especially severe in this case. Mr. Hasson’s reputation is destroyed. His
career is all but over. He is nationally notorious as a pariah.


94
   Indeed, the collateral consequences of a criminal conviction “affect virtually every aspect of
human endeavor, including employment and licensing, housing, education, public benefits, credit
and loans, immigration status, parental rights, interstate travel, and even volunteer opportunities.
Collateral consequences can be a criminal defendant’s most serious punishment, permanently
relegating a person to second-class status.” Nat’l Ass’n of Criminal Defense Lawyers, Collateral
Damage: America’s Failure to Forgive or Forget in the War on Crime, at 12 (May 2014), available
at https://www.nacdl.org/restoration/roadmapreport. The Department of Justice awarded a grant
to the Council of State Governments to study the collateral consequences of criminal convictions.
See NICCC Project Description, at https://niccc.csgjusticecenter.org/description/#. The resulting
National Inventory of Collateral Consequences of Conviction (NICCC) found more than 47,000
laws nationwide that impose collateral consequences on convicted criminals. In Maryland, the
study found more than 1,000 laws imposing collateral consequences on convicted criminals. These
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        We ask the Court to weigh heavily those collateral consequences in assessing the
appropriate sentence. The Fourth Circuit has expressly held that collateral consequences of a
criminal conviction are a relevant sentencing consideration under § 3553(a). See United States v.
Pauley, 511 F.3d 468, 474-75 (4th Cir. 2007) (holding that sentencing court’s consideration of
defendant’s loss of teaching license and state pension was “consistent with § 3553(a)’s directive
that the sentence reflect the need for ‘just punishment,’ id. § 3553(a)(2)(A), and ‘adequate
deterrence,’ id. § 3553(a)(2)(B)”). In this case, Mr. Hasson has been justly punished already
without the need for further incarceration. The charges of conviction relate to nonviolent, simple
drug and firearms possession offenses. The punishment Mr. Hasson has already endured is more
than sufficient to reflect the seriousness of those offenses, committed by a first-time offender.

               General Deterrence

       The second sentencing objective that the Court must consider is the need “to afford
adequate deterrence to criminal conduct” – i.e., general deterrence. Id. § 3553(a)(2)(B).

        We respectfully submit that the proposed sentence is more than adequate to deter similarly
situated, generally law-abiding citizens from committing the same offenses as Mr. Hasson. The
mere fact of the criminal prosecution has a greater deterrent effect than any sentence subsequently
imposed. Most individuals who consider making their own silencers at home, or unlawfully
purchasing and using prescription drugs online, would be significantly deterred if they were made
aware that they might be federally prosecuted as Mr. Hasson was here. Any general deterrence
effect that this case might have has already been accomplished.

               Specific Deterrence

        The third sentencing objective that the Court must consider is the need “to protect the
public from further crimes of the defendant”—i.e., specific deterrence. Id. § 3553(a)(2)(C).

        Mr. Hasson has already been amply deterred from committing future crimes by the many
adverse consequences that he has already experienced, and will continue to experience, as a result
of this prosecution. Never again will he put himself or his family through a similar ordeal after
what they have endured already. Mr. Hasson has a long track record as a law-abiding citizen. By



include a wide array of restrictions on employment, housing, parental rights, government benefits,
professional licensing, and government contracts, among others. See NICCC (Maryland), at
https://niccc.csgjusticecenter.org/search/?jurisdiction=24.
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all accounts of family, friends, and coworkers, the offense conduct here was completely out of
character. 95

       Throughout the period of the offense conduct, Mr. Hasson was struggling with severe
Opioid Use Disorder, which impaired his clear thinking, judgment, and decision-making and
caused him to behave in a way that was inconsistent with his true character. As Dr. Dunn explains,
OUD is a treatable disease and Mr. Hasson’s prognosis for treatment is good. 96 Mr. Hasson is
already abstinent from opioid use as a result of a year of incarceration. With the additional
treatment he will receive on supervised release, he will make a full recovery, further ensuring that
his behavior will not repeat itself.

       Dr. Hart agrees that with substance-abuse treatment and minimal supervision, Mr. Hasson
poses a low risk of recidivism. He explains:

          Regarding the goal of specific deterrence, it is my opinion that Mr. Hasson fully
          appreciates the seriousness of his actions; is remorseful for, embarrassed by, and
          ashamed of his actions; and is fully aware of the severe consequences should he
          ever engage in similar conduct again. Perhaps more importantly, regarding the
          general goals of protection of public safety and offender rehabilitation, it is my
          opinion that intensive or intrusive sentencing provisions and conditions for Mr.
          Hasson are unnecessary. Indeed, from the perspective of the Risk-Need-
          Responsivity model of offender management, the dominant model in the United
          States and most other countries with developed economies around the world, an
          extended period of incarceration may actually be counter-productive, decreasing
          his opportunities to develop and maintain prosocial relationships and substantially
          impairing his future re-integration into the community. Rather, the best general
          strategy is to provide monitoring, treatment, and supervision at a level
          commensurate with the level of risk he poses, which at present is low. 97

       In sum, the treatment and supervision that Mr. Hasson will receive during his term of
supervised release will be adequate to ensure that he does not recidivate.



95
     See Exhibit 8 (character letters).
96
     Exhibit 5 (Dunn Report), at 5-6.
97
     Exhibit 6 (Hart Report), at 13.
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                 Rehabilitation

       The final sentencing objective that the Court must consider is the need “to provide the
defendant with needed educational or vocational training, medical care, or other correctional
treatment in the most effective manner.” 18 U.S.C. § 3553(a)(2)(D).

       Mr. Hasson does not need educational or vocational training; he is already well trained and
highly skilled. What he needs is treatment for his addiction to tramadol and his associated
depression. Dr. Dunn prescribed “medication-assisted treatment (Vivitrol, Suboxone) for OUD
management in combination with psychological/counseling treatment to address underlying
emotional/depressive issues and issues resulting from OUD to help reduce risk of relapse and
promote sustained recovery.” 98 This treatment will be readily available to Mr. Hasson during his
term of supervised release and indeed he is much more likely to receive the appropriate treatment
through the probation office than in the Bureau of Prisons.

                 B.      Uncharged Conduct

        We anticipate that the government will ask the Court to place great weight, in its sentencing
analysis, on allegations related to viewpoints and beliefs purportedly held and expressed by Mr.
Hasson that do not relate to the criminal conduct of which he has been convicted. The government
has alleged that Mr. Hasson was a white nationalist, a racist, and an extremist, among other things.
We vigorously dispute that Mr. Hasson actually held these beliefs, as discussed in further detail
below. But even if he did, we submit that the Court is constitutionally prohibited from factoring
a defendant’s viewpoints and beliefs into its sentencing decision.

                 A Defendant’s Beliefs Are Not an Appropriate Sentencing Consideration

        Both the Supreme Court and the Fourth Circuit have held that considering a defendant’s
alleged beliefs at sentencing would violate core constitutional principles. “The First Amendment
generally prevents government from proscribing speech, or even expressive conduct, because of
disapproval of the ideas expressed.” R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992); see also
Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If there is a bedrock principle underlying the First
Amendment, it is that the government may not prohibit the expression of an idea simply because
society finds the idea itself offensive or disagreeable.”). As a result, the “Supreme Court has held
that the First Amendment ‘prevents the prosecution from employing evidence of a defendant’s
abstract beliefs at a sentencing hearing when those beliefs have no bearing on the issue being

98
     Exhibit 5 (Dunn Report), at 6.
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tried.’” United States v. Runyon, 707 F.3d 475, 494 (4th Cir. 2013) (quoting Dawson v. Delaware,
503 U.S. 159, 168 (1992)); see also Wisconsin v. Mitchell, 508 U.S. 476, 485 (1993) (“[A]
defendant’s abstract beliefs, however obnoxious to most people, may not be taken into
consideration by a sentencing judge.”).

       Mr. Hasson’s supposed personal thoughts and beliefs “ha[ve] no bearing on either the
crime[s] committed or on any of the relevant sentencing factors” under § 3553(a). United States
v. Alvarez-Nunez, 828 F.3d 52, 56 (1st Cir. 2016). Allowing evidence of those supposed beliefs
would merely serve “the irrelevant and impermissible purpose of demonstrating his general moral
reprehensibility.” United States v. Schmidt, 930 F.3d 858, 865 n.16 (7th Cir. 2019). Considering
Mr. Hasson’s opinions at sentencing would therefore “infringe[] [his] First Amendment rights.”
Alvarez-Nunez, 828 F.3d at 56.

        Again, we vigorously dispute that Mr. Hasson sincerely held extremist, racist, or white
nationalist views. Regardless, we respectfully request that the Court exclude from sentencing any
evidence of Mr. Hasson’s purported personal thoughts, beliefs, and viewpoints. The Court should
confine its sentencing analysis to the relevant factors set forth in § 3553(a), which are discussed in
turn in the next section.

               Mr. Hasson Is Not a White Nationalist, a Racist, or an Extremist

        But to the extent the Court considers these allegations, they should carry little weight when
viewed against the backdrop of Mr. Hasson’s entire, upstanding life. As all who know him agree,
the ideas expressed in those writings do not reflect the person that Mr. Hasson is or the beliefs that
he truly holds. The numerous character letters submitted by friends, family, and coworkers of Mr.
Hasson clearly illustrate this. For example:

           •   Mr. Hasson’s brother, Matthew Hasson, writes: “As disturbing as those writings
               appear to have been, those are NOT Christopher…. I know this man’s heart.” 99

           •   Mr. Hasson’s close friend Drew Buechley says the notion that Chris is “capable of
               killing a person or committing a mass killing of people could not be further from
               reality.” Mr. Buechley describes Mr. Hasson as a “gentle bear” and a “stabilizing,
               nonviolent personality.” Mr. Buechley also rejects the suggestion that Mr. Hasson

99
  Exhibit 8 (Letter from Matthew Hasson) (emphasis added). Matthew Hasson retired from the
United States Air Force in 2017 as a Lieutenant Colonel with 23 years of service. He currently
works in public relations.
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                  is a racist. He explains that Mr. Hasson worked with people of all backgrounds and
                  races in the Coast Guard and “seemed content, comfortable, and happy to be in
                  groups of a range of diversity.” 100

              •   Lieutenant Commander Jerome Brown, a longtime friend whom Mr. Hasson
                  mentored in the Coast Guard and who is African American, writes: “To hear that a
                  person that I considered a close and dear friend, a person that was in my wedding,
                  a person that helped mold me into the person I am today would plan such things is
                  unbelievable. I can’t say why or how Chris is accused of these horrible acts but I
                  can say that the Chris I know has NOT been a racist for over 20 years. I can say
                  that Chris has never been anything but honorable and respectful to all that have had
                  the pleasure of working with him. He has served his country with dignity and
                  respect and has an impeccable record so far as I have known him.” 101

        These individuals and others who know Mr. Hasson have uniformly expressed disbelief
that he was capable of committing the types of violent acts that the government has speculated he
was planning. 102 Instead, the rambling, incoherent thoughts and ideas that Mr. Hasson expressed
in a couple of deleted documents, recovered from his work computer, appear to be the product of
a situational mood disturbance, which Dr. Dunn described as a likely effect of Mr. Hasson’s
tramadol addiction. 103 Mr. Hasson wholeheartedly disavows the sentiments expressed in his
writings, which do not reflect his character, values, or intentions.

       Dr. Hart explains that the violent ideation reflected in those writings was compensatory in
nature—i.e., a way of coping with feelings of demoralization and uncertainty about the future—
and “did not reflect an intent or plan to commit violence.” 104 Dr. Hart identifies a host of factors
in Mr. Hasson’s personal life that caused him to feel as though his identity and critical “self-
concept as a man” were under threat. He explains that violent ideation was a way for Mr. Hasson
to cope with these perceived threats “and decrease his feelings of helplessness and



100
      Id. (Letter from Drew A. Buechley).
101
      Id. (Letter from Lt. Cdr. Jerome Brown Jr.) (emphasis added).
102
      See also, e.g., id. (Letters from Marc Triglia and James Fagnant, retired Coast Guard Officers).
103
      See Exhibit 5 (Dunn Report).
104
      Exhibit 6 (Hart Report), at 11 (emphasis added).
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hopelessness.” 105 Dr. Hart explains that while such behavior may be concerning, it is not unusual
in healthy, non-violent adults:

          Compensatory violent ideation may reasonably be considered grounds for concern
          about a person’s adjustment but is not at all specifically characteristic or indicative
          of major mental disorder or violence risk. Indeed, compensatory violent ideation is
          surprisingly common even among normal or healthy people and typically does not
          progress or escalate into violent intent, threats, attempts, or acts. Many people
          experience persistent violent ideation, sometimes even sharing their thoughts and
          fantasies orally or in writing with others, without ever committing actual violence.
          It is my opinion that Mr. Hasson is one of these people. 106

       In sum, Dr. Hart concludes that “[t]here is no plausible scenario whereby Mr. Hasson
engages in violence that might threaten public safety or public order, including but not limited to
mass casualty attacks or domestic terrorism.” 107

                   C.    Mr. Hasson’s Character

        In assessing Mr. Hasson’s true character and intentions, we urge the Court to read closely
the many character letters submitted by his family, friends, and coworkers. The letters paint a very
different picture of Mr. Hasson than the one the government has created and that the media has
seized upon. It would be hard to believe, after reading these letters from those who know him
best, that Mr. Hasson is not a man of good character who simply made some human mistakes.

        Mr. Hasson’s family members highlight the exceptional care and devotion that he has
shown to his children, his wife, and many others. Mr. Hasson’s father-in-law, Granville Coleman,
describes Mr. Hasson’s total “devotion to his faith, family, and service of his country.” He
highlights Mr. Hasson’s “care and concern for others” as “a quality I have always admired.” Mr.
Coleman writes: “Christopher is truly a blessing to our family, our community, and our country.”
Mr. Hasson’s mother-in-law, Jean Coleman, similarly describes him as “a wonderful husband and
father,” and an honorable man with a strong work ethic. 108


105
      Id. at 11-12.
106
      Id. at 12.
107
      Id. at 12.
108
      Exhibit 8 (Letter from Granville Coleman Jr.; Letter from Jean Coleman).
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         Mr. Hasson’s children, Maura and Killian, both describe him as a hands-on dad who taught
them everything from life skills, like swimming and riding a bike, to values of compassion and
empathy. He engaged both of his children in community service activities at a young age,
including delivering food to the homeless and rebuilding neighborhoods. Maura recalls that Mr.
Hasson was the primary parent involved in her school activities. Both Maura and Killian followed
in their father’s footsteps and joined the military. Mr. Hasson has continued to support his children
into adulthood. Maura writes: “This year I became a mother myself, and I am confident the
devotion and unconditional love I have for my son is a quality that has always been instilled and
shown to me by my father.” 109

       Mr. Hasson’s brother, Matt, recalls how Chris cared for him when Matt was struggling
with depression and alcohol abuse after a painful divorce. Every weekend, for six months, Chris
drove from North Carolina to Washington, D.C. to be by Matt’s side. Matt writes:

          Chris’ love and support are the reason I was able to get back on my feet. His
          compassion and selflessness didn’t stop at me. He treats every person he
          encounters the same way. He is kind, engaging, and respectful. My brother will
          do anything for anyone. If he sees someone in need he’ll be the first to offer a hand.

       Those who worked with him in the Coast Guard describe Mr. Hasson as a generous mentor,
a dedicated public servant, and an all-around good guy. Jerome Brown writes:

          Chris took me in like I was a little cousin. We spent many days together and even
          some nights. He taught me everything that I know about being an electronic
          technician. He was my first mentor, providing me with invaluable advice and
          guidance when no other superior would. … He was never angry or disappointed.
          Chris was a very loving and dedicated man.

       Jeffrey Cavallo, who worked with Mr. Hasson in the Coast Guard from 2012–2019 and
supervised him from 2013–2016, writes:

          During my military/civilian career I had the opportunity to serve alongside
          exceptional people. Chris was one of these people and I do not say this lightly.
          Chris from the moment I met him always went above and beyond to exemplify the
          characteristics of a Servant Leader. A Servant Leader empowers, puts the needs of
          his employees first and helps people develop and perform as highly as possible.

109
      Id. (Letter from Maura Harper; Letter from Killian Hasson).
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            Chris always put people first and ensured that they had the tools and training to
            excel.

        Mr. Cavallo recalls that Chris was approachable, always smiling, and “always had a
positive attitude.” He was “a consummate professional that was dedicated to serving his country
and the people he worked with.” Mr. Cavallo expresses “every confidence that he can put this
behind him and be a very productive member of society like he always has been.” 110

       David Donahue, who worked under Mr. Hasson from 2011–2016, describes Chris as “a
good supervisor,” who fostered “a positive work environment,” was “quick with a thank you,” and
was always open to suggestions for improvement. Mr. Donahue describes Chris as supportive,
encouraging, and overall “a positive person.” 111

            Jim Fagnant, who worked alongside Mr. Hasson from 2012–2016, writes:

            Chris reported to C3CEN as a newly commissioned Warrant Officer in 2012, and
            the first thing I noticed was how polite he was. He was always very agreeable,
            hardworking, easy to work with, and listened to advice keenly. Chris always
            presented himself as an accomplished professional. He was punctual, polished,
            dependable, and always willing to go out of his way to complete a job. 112

       Mr. Fagnant, Mr. Donahue, and others also highlight Mr. Hasson’s active participation in
community service activities during his tenure with the Coast Guard. Mr. Fagnant describes
himself as “shocked at the charges leveled against Chris,” noting that he “continue[s] to find the
accusations difficult to believe.” 113

       Patrick Walsh, a medical doctor and professor at Johns Hopkins School of Medicine, has
been visiting with Mr. Hasson weekly since April of 2019 as a lay Catholic prison minister. Dr.
Walsh writes:




110
      Id. (Letter from Jeffrey Cavallo, retired Coast Guard Officer).
111
      Id. (Letter from David Donahue, U.S. Coast Guard).
112
      Id. (Letter from James J. Fagnant, retired Coast Guard Officer).
113
      Id.
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          From the very beginning of these visits, I have been impressed with his religious
          convictions and sorrow over what he has done to his family by putting them through
          this ordeal.

          He has not made excuses for himself and deeply regrets his actions. It seems that
          addiction contributed heavily to his behavior, which would not have occurred if he
          had been sober.

          His contrition is sincere and he is committed to amend his life with the help of God.
          We have wonderful conversations about the Bible and the role of God in our lives
          helping others. 114

         Similarly, Laura Johnston, another religious counselor who has seen Mr. Hasson weekly
over the last year (she was paired with him because of her military background), writes that “the
man [she] encountered was not the person depicted in the media reports.” She has seen Mr. Hasson
truly “embrace his situation and, through reflection, come to terms with the self-destructive
decision making that lead him to incarceration.” Ms. Johnston does not “believe he is or would be
inclined to acquire weapons again or to return to using narcotics, knowing how drug use derailed
his life.” She adds:

          I offer this assessment after considerable reflection. Today, I work at the
          Washington Navy Yard, in a building next to the site of a mass shooting. The
          repercussions of that incident live on. I hope that the training we receive on
          recognizing threats would help deter incidents in future. I do not see a likelihood
          for that type of destructive behavior with Lt. Hasson. I do see a man who served
          his country and is working hard to earn another chance at living a better and more
          empathetic and compassionate life. I hope Your Honor affords him that opportunity
          in the near term. 115

        These letters—together with many others not specifically quoted herein—are a powerful
testament to the person Mr. Hasson really is. It is telling that all of these individuals, who have
known Mr. Hasson in different settings and during different periods of his life, agree on the basic
outlines of who he is. He is a good man. He has a positive outlook on life. He is kind, gentle, and
generous. He is not violent. He is not hateful. He is human, and he was struggling, for a bit, with

114
      Id. (Letter from Dr. Patrick C. Walsh); see also id. (Letter of Fr. Chuck Canterna).
115
      Id. (Letter from Laura D. Johnston).
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addiction and depression. He made mistakes as a result. But he has strong foundations and an
extensive support system that will ensure that he can safely return to the community and get back
on his feet.

                 D.     Comparator Cases

        Finally, in imposing sentence, this Court must consider “the need to avoid unwarranted
sentence disparities among defendants with similar records who have been found guilty of similar
conduct.” 18 U.S.C. § 3553(a)(6). Notwithstanding evidence of “extremist” or “white
supremacist” views of the type the government ascribes to Mr. Hasson, defendants in several
recent cases, who were charged with unlawful firearms possession, have received sentences in the
range proposed by Mr. Hasson.

       On August 8, 2019, Brian Baynes pled guilty to possession of a firearm by a user or addict
of a controlled substance under 18 U.S.C. § 922(g)(3)—the same offense to which Mr. Hasson
pled guilty. 116 During a search of Baynes’ home, investigators found “paraphernalia” affiliated
with Atomwaffen Division, a “neo-Nazi group” that “has been linked to several killings.” 117
Despite these affiliations, the district court in Baynes sentenced the defendant to just two years’
probation, with thirty days of intermittent confinement. 118

       Similarly, Jeffrey Clark pled guilty to a § 922(g)(3) charge on July 23, 2019. 119 Clark was
a vocal white supremacist who openly “fantasized about killing ‘Jews and blacks,’” made
statements online praising the Pittsburgh synagogue shooter (including that his victims “deserved”
what they got), and described himself on social media as a “meth-smoking, pipebomb making,
mailman-murdering … #DemoKKKrat.” Clark was connected with the Pittsburgh synagogue
shooter on social media, he attended the “Unite the Right” rally in Charlottesville, and he openly
expressed admiration for Dylann Roof, Timothy McVeigh, Ted Kaczynski, and other notorious
mass killers. A search of Clark’s residence revealed evidence of his ties to the violent neo-Nazi
group Atomwaffen Division, as well as body armor and helmets, hollow-point ammunition, and
assorted other expressions of violent ideology. These facts were described in detail in the


116
      United States v. Brian Baynes, No. 1:19-cr-00232-LO, ECF No. 26 (E.D. Va. Aug. 8, 2019).
117
   Michael Kunzelman, Man Linked to Neo-Nazi Group Pleads Guilty to Gun Charges, The
Associated Press (Nov. 12, 2019), https://apnews.com/0145d59d6c4e44ed99826a7e6e4e83c6.
118
      Baynes, ECF No. 43 at 2.
119
      United States v. Clark, No. 1:18-cr-00338-TJK, ECF No. 16 (D.D.C. July 23, 2019).
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government’s motion to detain Clark pending trial. 120 However, the district court properly set
aside this information pertaining to Clark’s violent ideology in sentencing him and imposed a
sentence of ten months in prison—essentially, time served. 121

         This Court should likewise give no weight to any views or opinions the government may
seek to attribute to Mr. Hasson and, like the courts in Baynes and Clark, should impose a sentence
that is tailored to the actual offense conduct. In this case, as in Clark, that sentence is time served.

       VIII. Conclusion

       For the all of the reasons set forth herein and in the supporting attachments, we respectfully
request that the Court sentence Mr. Hasson to time served and place him on a three-year term of
supervised release.


                                               Respectfully submitted,

                                                             /s/

                                               Elizabeth G. Oyer
                                               Cullen Macbeth

       EGO:sdf
       cc: Thomas Windom, AUSA
           Jennifer Sykes, AUSA




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   See Govt’s Memorandum in Support of Pre-Trial Detention, United States v. Clark, No. 1:18-
cr-00338-TJK, ECF No. 5 (D.D.C. Nov. 15, 2018). A copy of this filing is attached as Exhibit 7.
121
   Asher Stockler, White Supremacist Sentenced to Time Served After Receiving Federal Weapons
Charge, Newsweek (Sept. 13, 2019), https://www.newsweek.com/jeffrey-clark-pittsburgh-
shooting-white-supremacy-1459241.
